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 Attorneys for Defendant Ally Bank

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


 KATIE DAVIS,
                        Plaintiff,              Civil Action No. 3:25-cv-2274

       vs.
                                                ANSWER, AFFIRMATIVE
 ALLY BANK,
                                                DEFENSES AND
                                                COUNTERCLAIM
                        Defendant.




                                 EXHIBIT 1
Case 3:25-cv-02274-GC-JBD
                                                                                                      ILAW Document
                                                                                                           553-NJ-eps-14        11/19
                                                                                                                    9-1 Filed 04/25/25                                                                                                           Page 2 of 4 PageID: 245

                                                                                                                                  RETAIL INSTALLMENT SALE CONTRACT                                                                                                     :
                                                                                                                                        SIMPLE FINANCE CHARGE                                                                                                              ‘DEAL# 65303
                10070214                                                                                                                                                                                                                                                   CUST# 1731 35
                -Buyer:Name and Address                                                           .              ,               . | Co-Buyer Name and Address                                       .                      * | Seller-Creditor (Name and: Address) -.             :
            .| (Including County and Zip Code).                                                                                    (Including | County and Zip Code)"                                                          BARLOW BUICK GMC
                KATIE P DAVIS          ue                                                                                           NA                                                                                         445 RT72E
               “92';DAVIDDR                                                                           _                                                                                                                        MANAHAWKIN; NJ 08050
                (MANAHAWKIN NJ 08050

           You, the:Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit. By signing this contract,. you choose to buy the vehicle on
        credit under the agreements in this contract. You agree to pay the Seller - Creditor (sometimes “we” or “us” in this contract) the Amount Financed
        : ‘and Finance Charge in U.S. funds according to the payment schedule below. We will figure your finance charge on a daily basis. The Truth-In-Lending
            _Disclosures below are part of this contract.
                     New/Used                Year                                                 Make and Model                                           Vehicle Identification Number |                                               Primary Use For Which Purchased
                                         / 2"                     :                                  ,     ‘                                    7                =                                                                     - Personal, family,.or househoid-unless:~
                                          _                                          -                                               .                                                                                              -      otherwise. indicated eal                a
                                                                                                          BUICK                                                                          :                                      O business -
                      NEW                             2022                                            ENCORE                                                 KL4MMBS24NB116937                                                  D agricultural        oO WA
            |                  -_                             FEDERAL TRUTH-IN-LENDING DISCLOSURES                                                                                             _                                      NO COOLING OFF PERIOD
        ;                                                      " “FINANCE                                  f[-.- Amount                    -           Total of                  Total Sale
                 PERCENTAGE "CHARGE.                                                                                 Financed                         Payments               |                      Price                      State law does not provide for a
                                              ;                             The dolar                            te. arround of                 The amount you                               The total oost of                     cooling off”       or cancellation period
                        in pit 0!                                          ‘amount      the                      credit provider                will have paid after | your purchase on                                                                   ;                 ‘
                       your'credit as                                 ;     credit will               ,              to you or.                 you have made all      ‘red, Including                                         for    this    sale.    After     you        sign       this
                       a yearly rate.                                           cost you.                        on your behalf.                      payments be                     Lieoh down          contract, you may only cancel it if
                 _                                                                                                                                                               $          2500.00 js| | the seller agrees or for legal cause.
                                     2.74%                    $                          7854.76 | $                             25065.32 | $             __33820.08_|             $___36320.08_|       | You cannot cancel this contract
                 Your Payment Schedule                                                        Will Be:                                                                       (o)'means
                                                                                                                                                                                  an estimate | | Simply because you change your
                Number of | .Amountof                                                             |-                         When ‘Payments                                    :                  mind. This notice does not apply to
                Pageants}                             ___Reyments | __Are                                                                 Dus                                                                   —            | home solicitation sales.
                       8                      u                           402.62                      Monthly                                                   beginning 07/26/2022                                    |      CO If this box is checked, the following late charge
                 7              .                 _                         :                                                                                                                                                  applies to vehicles purchased primarily for business
   . } N/A                          —         .               —                 NA        7                WA        .                            .                                                                            or agricultural use.
                     NA                                                          .                          --                                                           ‘                                                      If a. payment is not received in full within                  |
                                                                                                                                                                                                                                —N/A___ days after it is due, you will pay a
                                                                                                                                                                                                                               Jate.charge of $___N/A___ or __"N/A___
                     Late Charge. If payment:is not received in full within    10     days after it is dua, you will pay a late charge of | | of the part of the payment-that is late, whichever is less.
                     —5_ % of the part of the: payment that is late: if the vehicle is primarily for personal, family, or household use} | 1¢ this box is not checked, the late charge in the
                     andthe cash price is $ 10,000 _¢,: tess, the charge for each late payment will be $_1V_
                                                                                                          10,                                                                                                                || "Federal Truth- In-Lending. Disclosures” still applies.
                     Prepayment. If you pay early, you will not have to pay‘a penalty.                                                                                           .
                     Security Interest. You are giving a security interest in the vehicle being:purchased:                                                                                                                   | Applicable Law
                     Additional information: See this contract for more information including information about nonpayment,                                                                                                    Federal law and the law of the state of New
                     default, any required repayment in full before the scheduled date and security interest.                                                                                                                  Jersey apply to this contract.
                 OPTIONAL GAP CONTRACT. A gap contract (debt cancallation contract) is not re                                                           to obtain credit and will not be provided unless you sign below and agree to pay the extra charge. If you choose fo
                 buy @ gap-contract, the charge'is shown in tlem 4D of the Hemization:of Amount Financed: See your gap contract for details on. the terms and conditions it; pronne. ttisa ane7 this contract,

            term                    —_                       ‘N/A.                                    7                            Mos.                                                                                      N/A
    .                      .                                                                                                                                                                                                Name of Gap Contract
                ‘| want to buy a gap contract.
                 Buyer Signs.X                                                                                                            N/A
                                                                                                                                                                                               lh                   4
                 HOW THIS CONTRACT CAN BE CHANGED. This contract containsthe entire agrdor                                                                                                wohl eh: ating to this contract. Any change.to.this,contract must'be in wrlting
                 andiwe must sign it. No oral changes’are binding.              Buyer Signs.X              TAL                                                                        ARE                Co-Buyer Signs X           N/A
                 If any part of this contract is not valid, all other parts stay valid. We may-delay or refra                                                                        i UGany of our rights under this contract without losing them. For example, we may
                 extend the time for making some payments.without extending the time for making others,
                 See the rest of this contract for‘other Important agreements.

       NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS. AND DEFENSES WHICH
    .| THE: DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT HERETO OR
       WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY
       THE DEBTOR HEREUNDER.

                 The preceding NOTICE applies only to goods or services obtained primarily for personal, family, or household use. In all other
                 cases, Buyer will not assert against any subsequent holder or assignee of this contract any claims or defenses the Buyer (debtor) |.
                 may have against the Seller, or against the manufacturer of the vehicle or equipment obtained under this contract. :




                                                                                                                                                            76533°1°BM-Fl                                   ,                                                06/11/2022 04:13 pm

                Buyer Initials X                                           Co-Buyer Initials X                           __N/A                                                       ‘                                                   LAW 553-NJ-eps-14 11/19. v1           Page 1 of 3
  Non-Authoritative Copy [20220615]
            OTHER IMPORTANT AGREEMENTS
Case 3:25-cv-02274-GC-JBD                                                  Document 9-1                              Filed 04/25/25                    Page 3 of 4 PageID:
                                                                                                                                                                        ™  7 246
             1;. FINANCE CHARGE AND PAYMENTS                                                                                  * — You do not pay any ‘payment on time; |
                             How we will figure Finance Charge. We will figure’ the                                          -¢ ‘You give false, incomplete, or. misleading information
                             Finance Charge ona daily‘basis:at the Annual Percentage.                                               during credit application; -
                             Rate on the unpaid part of the Amount Financed.                                                  e     You start.a. proceeding in bankruptcy or one: is stared
                             How we will apply payments. We may apply‘each payment .                                       :        against you or your property; or
                             to the.earned and unpaid part.of the Finance Charge, to the                                      * ~ You break any agreements in this contract.              .
                             unpaid part of the Amount Financed and to other amounts’                                         The amount you'will owe will be the unpaid part of the Amount
                             you owe under this contract in any: order we choose as the                                       Financed plus the earned and ‘unpaid part of the Finance
                             law allows.                                                                                   : Charge, any late-charges, and any amounts due because you’
                             How late payments or early payments change what you                                          _ defaulted.
                             must pay. We based the Finance Charge, Total of Payments,                                 c. You may have to pay collection costs. If we hire an attomey, .
                             and Total Sale Price shown'on page ‘1 of this contract on the                                   who is not our salaried employee to collect what you owe, you
                             assumption that you will make every payment on the day.it is                                ~ will pay the attorney's reasonable fee and court'costs the law.
                             due. Your Finance: Charge, Total of Payments, and Total Sale                                    permits. If the vehicle is primarily for personal, family, or
                             Price’ will be more if you pay late and less if you pay early.                                  household use and the cash ‘price is $10,000 or less, .the
                             Changes may take the form of a larger or smaller final                                          maximum attorney’s:fee you-will. pay will be $100 plus 10% of
                             payment or, at our option, more or fewer payments’ of the                                       the excess over $500 of the amount due when we. hire the.
                             same amount as your scheduled payment with a smaller                                            attorney.
                             final payment. We.will send you a notice telling you ‘about .                             d. We may-take'the:vehicle.from you. If you default, we may take
                             these:changes before the final schéduied payment is-due.                                     . (repossess) the vehicle from you if we do'so peacefully and the
                             You may prepay. You may prepay all of part of the unpaid                                        law allows it. If your vehicle has an electronic tracking device
                             part of the Amount Financed at, any time without penalty. If                                     (such as'GPS), you agree that we may use the. device to find the:
                             you: do so, you:must pay the earned: and unpaid part of the                                     vehicle. If we take the vehicle, any accessories, equipment, .and
                             Finance Charge and all other amounts due up to the date of                                    . feplacement parts will stay with the vehicle. If any personal °
                             your payment. .                   ‘                                                             items are in the vehicle, we may store them for you: If you do not.
                                                                                                                             ask for these items back, we may dispose of them as the law
             2.     YOUR OTHER PROMISES TO'US ,                                                                              allows.
                            If the vehicle Is damaged, destroyed, or missing. You                                    “@.     How you can get: the: vehicle back if-we take it. If we
                          - agree to pay'us all you ‘owe under this contract even if the                     -               repossess the vehicle, you may pay to get it back (redeem). We
                            vehicle is damaged, destroyed, -or missing.   :                                                  will tell you how much to pay to redeem..Your right to.redeem
                            Using the vehicle. You agreé not to remove the vehicle from                                    - ends when we:sell the vehicle:
                          _ ‘the U.S. or Canada, or to:sell, rent, lease, or transfer any                              tf.   Wewill sellithe-vehicle if you.do not get it back. If youvio not
                            interest in the vehicle or this contract without our written                                     redeem, we will sell the vehicle. We will send you.a written-noticé
                            permission. You agree not.to expose the vehicle to misuse,                                       of sale before selling the vehicle.
                            Seizure, confiscation, or involuntary transfer. If we pay any                                    We will apply the money from the:sdle, less allowed expenses,,
                          , tepair bills, storage bills, taxes, finés, or charges on the                                     to the amount you owe. Allowed expenses are expenses we pay
                            vehicle, you agree to repay the amount when: we.ask for it:                                      as a diréct resultiof taking the vehicle, holding it, preparing it for
                            Security Interest.                                                                               sale, and selling it. Attorney fees and court.costs the law.permits.
                            You give us.a.security interest in:                                                              are also allowed expenses. If any money is left (surplus), we will:
                             ¢    The vehicle and all parts. or goods put on it;                                             pay it to you unless the law requires us to payit to Someone else.
                            « — Allmoney or-goods received (proceeds).for the vehicle;                                       If money from.the sale is not enough to pay the amount you owe;
                             ¢     Allinsurance, maintenance, service, or: other contracts                                 “you must pay the rest to.us. If you do not-pay this:amount'when
                                  we finance for you; and                                                                    we-ask, we may-charge:you interest at a rate not exceeding the
                              ¢        All proceeds from insurance, fiabitonaos, service, or                                 highest lawful rate until you pay:
                                   other contracts we finance for you. This includes any                             : g. What we may do about optional insurance, maintenance,
                                   refunds of premiums or charges from the.contracts.                                        service, or. other contracts. This contract may contain.charges:
                             This:secures paymentof all you owe on this contract. It also.               .                   for optional insurance, maintenance, service, or other contracts.
                             -secures your other agreements in:this contract.     You will make                            . If wedemand that you pay all'you owe at once or we repossess.
                              sure the title shows-our security interest (lien) in the vehicle.                              the vehicle, we may claim benefits under these contracts and
                             You will not allow any other security interest.to be placed on                                   cancel them ‘to obtain refunds.of unearned charges.to reduce
                             the title without our written permission.                                                        what you owe or repair the vehicle «as: the law. allows. If the
                              Insurance you must have on the vehicle.                                                         vehicle is a total loss because it is confiscated, damaged, or.
                             You.agree to have physical damage insurance covering loss                                        stolen, we may claim benefits under these.contracts and cancel
                             Of or'damage to the vehicle forthe term of this contract. The                                 - them to:obtain refunds of. unearned charges to reduce what you:
                              insurance must cover our interest in the vehicle. You agree to                                  owe...                                      .
                              name us on your insurance policy as an additional insured
                             and as loss payee. Ifyou do.not have this insurance, we may,            .                  WARRANTIES SELLER DISCLAIMS
                             if we choose, buy physical: damage insurance. If we decide                                 Unless the Seller makes a-written warranty, or enters into:'a
                             to buy iphysicall damage insurance, we may- either buy                                     service contract within 90 days from the-date of this contract,
                           , insurance that covers your interest and our interest in the                                the Seller makes no. warranties, express or implied, on the
                             vehicle, or buy insurance that covers only our interest to the                             vehicle, and there will be no implied warranties of:
                             extent permitted by applicable law. If we buy either type of                               merchantability or of fitness: fora particular purpose:
                             insurance, we will tell you which type and the charge you                                  This provision does not‘affect any Wwarranties.covering the vehicle.
                             must pay. The:charge will be-the premium for the insurance                          ~    . that the vehicle manufacturer may provide.
                             and a finance charge computed at the Annual Percentage
                              Rate shown on page 1         of this contract or, at our option, the                     Used Car Buyers ‘Guide. The information you see on the’
                             highest rate the law permits.             Oe                 ;                            window’ form for this vehicle is part of this. contract.
                             If the vehicle is lost or damaged, you agree that we may use                              Information on the window form overrides any contrary
                             any insurance settlement to reduce what you owe or repair                                 provisions in the contract of sale. *.
                           . the vehicle.                                                                              ‘Spanish Translation: Guia para compradores de vehictilos —
                             What happens to returned insurance, maintenance,                                          usados.     La   informacién     que    ve   en   el formulario      de   fa
                             Service, or other contract charges. If we get a refund:on                                  ventanilla para este: vehfculo forma’ parte del presente:
                             insurance, maintenance, service, or other contract charges,                                contrato. La informacién del formulario dela ventanilla deja
                             you agree that we may subtract the refund from what you                                  . sin efecto toda disposicién en contrario contenida en el
                             owe.                                                                                       contrato de. venta.

             3.      IFYOU PAY LATE OR BREAK YOUR OTHER PROMISES                                                        Servicing and Collection Contacts...
                            You may-owe late charges. You will pay a late charge on                                     You agree that we may try to ‘contact you in writing, by e-mail, or
                            each late payment as shown on page 1 of ‘this contract.                                     using. ‘prerecorded/artificial voice messages, text messages, and
                            Acceptance of.a late payment or.late charge does not excuse                                 automatic telephone dialing systems, as the law. allows. You also
                            your late payment.or mean that you may keep making late                                     agree that we may:try to.contact you in these and other ways at any
                            payments.                                                                                 - address or telephone number you’ provide us, even if the telephone
                            If you pay late, we may also take the steps described below.                                number is a cell phone number or the contact resultsin a:charge to
                            You may have to pay all you owe at once. If you break your                                  you.                                .         .     -
                            promises (default), we: rriay:demand that you pay all you owe
                          - on this cont     t atonce. Default means;
                                                                                                76533*1*BM-FI                                                            06/11/2022   04:13 pm -


            ‘Buyer Initials X                  -Co-Buyer Initials X   ___N/A                                                                        LAW 553-NJ-aps-14. 1119 vt         Page 2 of 3
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CaseITEMIZATION
      3:25-cv-02274-GC-JBD
                OF AMOUNT FINANCED                                                            Document 9-1                                             Filed 04/25/25           Page 4 of 4 PageID: 247
                                                                                                                                                                 Insurance. You may buy the physical damage insurance.
                  4 Cash Price (including $___1755.77" sales tax)                                                                   $___27838.27__ (1)                                 this contract requires from anyone ‘you choose who Is.
                                                                                                                                                                                       acceptable to us. You may also provide the physical damage
                                                                                                                                                                                       insurance through afi existing policy owned or controlled
                  2 Total Downpayment:=                                      .                                                                                                         you that is acceptable to.us.— are not required to buy any
                                                                                                                                                                                       other insurance to obtain credit.
                                Trade-In                                    NIA                                                                                                        THIS DOES NOT INCLUDE INSURANCE ON
                                            (Year)         (Make)                          (Model)
                                                                                                                                                                                       YOUR ‘LIABILITY FOR BODILY INJURY OR
                                 Gioss Trade-In Allowance                                                                   $                                 NA                       PROPERTY             DAMAGE.                  WITHOUT              SUCH
                                Less Pay Off Made By Seller to. N/A                                                         $                                 N/A                   | INSURANCE, YOU MAY NOT OPERATE THIS
                                 Equals:Net Trade In                                                                        $__                        NA                             VEHICLE ON PUBLIC HIGHWAYS.
                                                                                                                                                                                             If any Insurance: is checked below, policies or
                                 +Cash       N/A                                                                            ‘$___ 2500.00.                                             certificates from the named Insurance companies will
                                +Other N/A                                                                                  $                                 N/A                      describe the terms and conditions:
                                +Other N/A                                                                                  $                                 NIA                           Check the Insurance you want and sign'below:
                                +Other N/A                                                                                  $                                 N/A                                 Optional Credit Insurance    -
                                (If total.downpayment Is negative, enter “0” and see 4! below)                                      $_______2500.00 (2)                               Oi Credit Life:     Buyer [ Co-Buyer (Both
                  3    Unpaid Balance of:Cash Price: (1 minus 2)                                                                                                                       O Credit Disability:       [Buyer             [)Co-Buyer       [          Both
                  4    Other Chargas.Iricluding Amounts Paid.to Others:on Your Behalf                                                                                                  Premium:
                       (Seller may keep part of these amounts):
                                                                                                                                                                                            Credit Life $ Na
                       A Cost of Optional Credit Insurance Paid to Insurance Company or ‘Companies.
                                                                                                                                                                                            Credit Disablity§___________N/A
                             Ue.                                                              $                  N/A                                                                  Insurance Company Name__N/A
                             Disability -                                                     $                    NA ¢                                       N/A_                    NIA               -
                      ~ B Other Optional insurance Paid to Insurance.Company or Companies                                   $                                 N/A                      Home Office Address                  NA
                                                                                                                                                                                        NIA
                        C Official Fees Paid! to Government Agencies
                                                                                                                                                                                       Credit life insurance and. credit disabili insurance: are not
                            to N/A                                      for_NV/A                                            $                                 NA                       required to obtain credit. Your decision to buy or not: buy credit
                             to_N/A                                     for_N/A                                             $                                 N/A                      life insurance and credit disability insurance will not be a factor
                                                                                                                                                                                       in the credit approval process. They will not be provided unless
                         to N/A                                       _ for N/A                                             $                                 N/A                   : fs sign and agree to pay the extra cost. If you choose this
                       D Optional Gap:Contract                                                                              $                                 N/A                       pai tohakoy  ithe       is shown: in Item 4A of the Hemization of
                                                                                                                                                                                                    inanced. Credit life insurance pays the unpald part:of
                       E. Supplemental Title Fee                                                                            $_                                N/A                     the ane
                                                                                                                                                                                            a          financed Myou die.. This Pranielent pays only the
                       F* Vehicle Tire Fee                                                                                  $                           7.50                           amount you would owe if you pald all
                                                                                                                                                                                       Credit disability insurance pays the
                                                                                                                                                                                                                                                    on time.
                                                                                                                                                                                                                                              payments duo
                       G Government Taxes Not Included‘in Cash Price                                                        $                 -__N/A                                   under this contract while you are eahled a insurance does
                       H_ Government License and/or Registration Fees                                                                              :                .                  Not cover any increase in your             jent or in:the: number of
                                                                                                                                                                                                   . The policies or certificates issued by the named
                                NA             .                                                                                                                                       insurance-companies may further limit the coverage that credit.
                                LICENSE & REG FEES                                                                          $                     320.55                               life or credit disability: Insurance provides. See the ipolicies or
                                                                                                                                                                                       certificates for. coverage limits and other terms and conditions.
                       1     Government Certificate of Title Fees                                                           $.                                NWA                      Coverage for credit ‘life insurance and credit disability
                             Other:Chai     ‘Seller must identify who is          paid and describe:purpose!                                                                          Insurance ends on the bot alr due date for the last payment
                                                                                                                                                                                       unless a.different.term for the insurance is shown bélow.
                              to:W/A                                    for'Prior Credit or Lease Balanca                   $                         N/A
                            " fo BARLOW BUICK GMC                       for DOC FEE                                         $                     ‘299.00
                           - 1oN/A              :                       for NIA                                        _§                             N/A                              G:
                                                                                                                                                                                                     Other Optional Insurance
                                                                                                                                                                                                               :
                              to NA                                     for N/A                                             $                         NIA
                              to NA.                                    for N/A                                         8                             N/A                                            Type of Insurance                             Term
                           to WA                                       for N/A                                              $                                 N/A                      Pramium $                 NA
                            to WA                                       for N/A                                             $                             N/A                       ‘| Insurance Company | Name N/A
                            to N/A                                      for WA                                              $                             WA                               N/A                     —
                            toNWA                                       for NIA                                         $                              NA                              Home Office Address                          N/A
                            to N/A                                      for WA                                              $                           N/A                          N/A                          _                                  _
                   Total Other Charges and Amounts Paid to Others on Your Behalf                                                    $                     _     627.05. (4),         ‘OO NA                       a                                       NIA
              5 Amount Financed (3 + 4)                                                                                             $                         25965.32 (5),                          Type.of insurance          =                  Term
                                                                                                                                                                                       Premium $                            __N/A_
          OPTION: 1] You Pay no finance charge if the. Amount Financed, item 5, is paid in full on or'before                                                                           Insurance. Company NName ——NA__
                                                                                                                                                                                           N/A                :
                          N/A              Year WA       SELLER'S INITIALS _____-'N/A__
                                                                                                                                                                                       Home Office Address. _               __WA
                                                                                                                                                                                          N/A.
          Returned Check Charge: You agree to pay a charge of $                 20.         if any check you give us is dishonored. If                                                Other optional insurance Is-not required to obtain oat Your
          the Vehicle is primarily for personal, family, or household use and the cash price is greater than $10,000, or the Vehicle is                                               secon fo buy.or not      other.o onal insurance:will notbe a
                                                                                                                                                                                      factor In the credit oa ees {t will not be | provided
        | for business or.agricuttural use, youalso agree to pay achare of $20 If any electronic payment Is returned unpaid.                                                          unless you sign and agree to pay the extra cost.
                                                                                                                                                                                      I-want the insurance checked above:
          The Annual Percentage Rate may be ‘negotiable with the Seller.                                                                                                              x NIA
          The Seller may assign this contract and retain its right to receive                                                                                                         Cua                                                          nee
          a part of the Finance Charge.                                                                                                                                               CoB Sigaiire                                                 WA
          7                               ;                                                          NOTICE TO RETAIL BUYER
              Do not sign this contract in: blank.
          You are entitled to a copy of the contract at the time you sign.
              Keep It to protect your legal rights.
         “You agree to the terms of this contract. You confirm that before you signed this contract, we gave it to you, and you
          were free to ta ke/it and revia it. You confirm that you received a comprotely filedein copy when you signed it.

          Buyer Signs       LAW
          Buyer Printed Name KATIE
                                  --
                                P DAVIS
                                                                      AN                          Date _08/11/2022,                     Co-Buyer Signs X       aa
                                                                                                                                        Co-Buyer Printed Name N/A
                                                                                                                                                                                                                                     Date WA
                                                                                                                                                                                                                                         :
          If the “business” use box'is checked'in "Primary Use for Which Purchased: Print Name N/A.                                             Title N/A_
          Co-Buyers and Other Owners— A co-biyyer is a person who Is responsible for paying the entire debt. An other owner is a person whose name is on the title
                                                                                                                                                                   to the vehicle’but                                                           does not have
          to pay the’ debt. The other owner agrees'to the security interest in the vehicle given to us in this contract.
                                                                                                                                                                                                                                                                        Ss




         . Other owner:signs here                    X          N/A                                                                     Address
    1 Seller aye nafLowbuncK ane                                                     own                   anaimaza                     By X_                                                                                          Tito         FEMANAGER!
                                                                                                                                                       4                     fw
    } Seller assigns its interest in this contract to ALLY CAPITAL. _                                                                                  ZL...                (Assignee) under the terms of Seller's agreement(s) with Assignee.
    ]                  ‘Cl Assigned with recourse                                                              ‘DR) Assigned without                   recdurse         )                                _ D Assi                         fad        recourse:
          Seller BARLOW BUICK GMC                                                                                  :                                                                                          _        VK                                        :
          ByX                                                                                                                                                                    Ve!        . Tite                          ~
         [LAW                         FORM NO. 553-NJ-ops-14 rev. 1119                                                 76533°1°BM-FI                                                        ,                               06/11/2022 04:13 pm
              9                       SHERE AR
                                      FINESSAREFOR NOPURPOSE
                                                      WARRANT]
                                                             TIES,EXPRESS OR IMPLIED, AS TO CONTENT OR
                                                               Oe
                                                              THIS'FORM, CONSULT YOUR GWN LEGAL COUNSEL.
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